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                                       Case 1:22-cv-00838-RJJ-PJG                                                      ECF No. 86-57, PageID.2294                                                                    Filed 04/10/25                                          Page 2
                                                                                                                                of 2
Ke'aujanaa Janielle Shepherd-Friday           > ID 173424
            Grade                 10                                            Building              504737 • Phoenix High School                                 Birthdate / Age         7/15/2002 • 17:02                                Homeroom

            Status                Inactive                                      Counselor             Freeman, Madison                                             HousefToam                                                               Sec Homeroom




                      ..i    Behavior Incidents                                                                                                                                                                                                                                                                          OQ

                        ~ Incident List

                                                                                                                                                                                                                                                                                                                              ~
                             School Year •            Surnm;,r s~r.0 111   lno i c~:                        Ir 1.;1 _!e""t Ca·cgor;          8 1.1•lo1n-.J                      Lccn:1on                 l"l'dJ&\[ D .:.:o."T :nc   Ira k:O~ R<,1~                 f~ciOO·,t R"l!-.: c~:.: r:~.,..?     A c :on\5}

                            2018-19                   N                    212 • Fighting                   3 • Category Ill -               504737 • Phoenix High              CAF - Cafeteria          4/16/2019 7:15 AM          Offender                                                            SUS. Suspension
                                                                                                            Illegal Conduct                  School
                            2018-19                   N                    115- Electronic Usage            1 • Category I •                 504737 - Phoenix High              Cl$ - Classroom          12/3/2018 11:45            Offender                                                            SUS • Suspension
                                                                                                            General Misconduct               School                                                      AM
                             2018-19                  N                    103 - Refusing to Follow         2 • Category II •                504737 • Phoenix High              CAF • Cafeteria          10/3/2018 10:00            Offender                                                            SUS - Suspension
                                                                           school and classroom             Serious Misconduct               School                                                      AM
                                                                           rules
                             2018-19                  N                    228 - Intimidation               1 • Category I •                 504737 • Phoenix High              HAL-Hall                 9ni201810:20 AM            Offender                                                            REF • Referral
                                                                                                            General Misconduct               School
                             2017-18                  N                    329 • Assault                    3 • Category Ill •               406117 • Kalamazoo                 CAF • Cafeteria          1/18/2018                  Offender                                                            S US• Suspension
                                                                                                            Illegal Conduct                  Central High School
                             2015-16                  N                    212 • Fighting                   2 • Category II •                309942 • Linden Grove              SCH -School              11/4/2015 7:00 PM          Offender                                                            SUS - Suspension
                                                                                                            Serious Misconduct               Middle School                      Grounds
                             2015-16                  N                    212 • Fighting                   2 - Category II •                309942 - linden Grove              SCH· School              10/27/2015 3:02            Offender                                                            SUS - Suspension
                                                                                                            Serious Misconduct               Middle School                      Grounds                  PM
                             2014-15                  N                    212. Fighting                    2 • Category II •                309942 - Linden Grove              3-                       10/22/2014 10:20           Offender                                                            SUS - Suspension
                                                                                                            Serious Misconduct               Middle School                      Commons/Common           AM
                                                                                                                                                                                Areas
                             2014-15                  N                    2 18-                        2 • Category II •                    309942 • Linden Grove              CLS • Classroom           10/14/2014 11:28          Offender                                                            LOP • Withdrawal of
                                                                           Ocfiance/OisrespecUlnsl1borc Serious Misconduct                   Middle School                                               AM                                                                                             Privileges
                                                                           compliance
                             2014-15                  N                    217 • Repeated disruptive    2 • Category II •                    309942 - Linden Grove              CLS - Classroom           10/13/2014 9:07           Offender                                                            LOP • Withdrawal of
                                                                           behiwfor                     Serious Misconduct                   Middle School                                               AM                                                                                             Privileges
                             2013-14                  N                    212 • Fighting                   2 • Category II •                309942 - linden Grove              HAL- Hall                2/4/201 4 8:20 AM          Offender                                                            SUS - Suspension
                                                                                                            Serious Misconduct               Middle School
                                                                                                                                                                                                                                                                                                                              ~

                            ,. Offense I Action Totals

                            r Sh ow Only Current Year Totals
                                                                                                                                                                                                                                                                                                                              ~
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                             a,,~~                                                     J PP        R P H\- S.      :JET               El<"                   SCi      SJS            JPr                   ~h -tYS                   DET                            :::y.c                        SCI                ScJS
                             115 - Electronic Usage                                                                                                                       1                                                                                                                                          1 Days
                             212 • Fighting                                                                                                                               5                                                                                                                                          15 Days
                             224 - Usage of electronic devices                                                                                                            1                                                                                                                                          1 Days
                             329 • Assault                                                                                                                                  1                                                                                                                                        g Days
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